UNITED STATES DIS'I`RICT COURT
EASTERN DIS'I`RICT OF WISCONSIN

 

ADMINISTRATIVE I`NSPECTIONS OF
MEDICAL CLINICS OPERATED BY:

Jesse J. Van Bommel, M.D. Misc.No. "'q'jl ,- ‘ ll l g l

13760 W. Capitol Drive

Brookneld, WI 53005 \Cl_ m - OO el

Jesse J. Van Bomrnel, M.D.
N51W169ll Old Hickory Road
Menomonee Falls, WI 53051

 

 

Af[idavit and Application for Administrative Inspection Warrant Under
Section 510 (21 U.S.C. § 880) of the Controlled Substances Act (P.L. 91-513)

 

TO: United States Magistrate Judge David E. Jones
United States District Court
Eastem District of Wisconsin

I, Laurie Kaufmann, being duly sworn, depose and state as follows:

l. I am a duly appointed Diversion Investigator of the United States
Department of Justice, Drug Enforcement Administration (“DEA”), assigned to the
Milwaukee District Office. I have been employed as a Diversion Investigator with the DEA
since January 1989 and have been assigned to the Milwaukee District Office since August
2010. My duties include conducting investigations of the diversion of legally manufactured
controlled substances into other than legitimate medical, scientific, and industrial channels.
My duties also include inspections of DEA registrants who are authorized to handle
controlled substances under the Comprehensive Drug Abuse Prevention and Control Act
of 1970 (Controlled Substances Act or “CSA”), Tit]e 21, United States Code (U.S.C.),
Sections 801 , et seq, and its attendant regulations, Title 21, Part 1300, et seq.

2. Pursuant to the CSA, 21 U.S.C. §§ 878(a)(2), 880(b), and 880(d), and 28
C.F.R. Part 0, Appendix to Subpart R, § 3(b), I arn authorized to execute Administrative
lnspection Warrants for the purpose of inspecting controlled premises and/or persons and
firms registered under the CSA, including inspecting, copying, seizing and verifying the
correctness of all records, reports, and other documents required to be kept or made under
21 U.S.C. § 827 and 21 C.F.R. § 1304.01 et seq.

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3. Jesse J. Van Bomrnel, M.D. (“Dr. Van Bommel”) is registered with the
Attomey Generai under 21 U.S.C. §§ 822 and 823 (DEA Registration Number
BV7900980), and is authorized as a practitioner to procure, store, prescribe, dispense and
administer controlled substances in Schedules II-V. Dr. Van Bommel is registered with
DEA at a residential address located at N5 l Wl 691 1 Old Hickory Road, Menomonee Falls,
Wisconsin 53051. That location is therefore a “controlled premise” within the meaning
under the CSA. 21 U.S.C. § 880 and 21 C.F.R. § l316.02(c).

4. The CSA requires physicians such as Dr. Van Bommel to keep complete
and accurate records of all controlled substances received, sold, dispensed, administered,
or otherwise disposed of for the last two-year period on any controlled premises. 21 U.S.C.
§ 827 and Title 21 C.F.R. § 1304.01 et seq. He is required to maintain records and
inventories for controlled substances and have them available for inspection for a period
of at least two years pursuant to 21 U.S.C. § 827(b) and 21 C.F.R. § 1304.04. He is required
to dispense controlled substances only for a legitimate medical reason in the usual course
of professional practice pursuant to 21 U.S.C. § 829(a)(b)(c) and Title 21 C.F.R.
1306.04(a)(b)(c). Further, the CSA authorizes the DEA to inspect the above records
pursuant to an Administrative Inspection Warrant to detennine compliance with the
requirements of the CSA.

5. The DEA’s investigation has determined that in addition to his registered
location, since August 2014 Dr. Van Bommel has been practicing medicine at Relief Pain
Management and/or Relief Treat:ment Center, 13760 W. Capitol Drive, Brookfleld,
Wisconsin 53005. To the extent Dr. Van Bommel maintains records of the holding,
manufacture, distribution, dispensing, administration or disposal of a controlled substance
at this location, it is also subject to inspection pursuant to 21 U.S.C. § 880. See 21 U.S.C.§
880(a)(2).

6. Based on my investigation to date, including interviews of fenner patients,
I have determined that Dr. Van Bommel likely maintains medical and other records related
to these activities at Relief Pain Management and/or Relief Treatment Center. I therefore
seek authority to inspect both Dr. Van Bommel’s registered location as well as his clinic
location at 13760 W. Capitol Drive, Brookfield, Wisconsin.

7. Under the CSA, sufficient probable cause for the issuance of an
Administrative Inspect:ion Warrant exists if the supporting aflidavit establishes that: (1) the
registrant has never been inspected before (see Matter ofSearches and Ser'zures Conducted
on October 2 and 3, 1980, 665 F.2d 775, 777 (7th Cir. 1981) and United States v. Aclclen,
690 F.2d 70 (6th Cir. 1982)); (2) a substantial period has passed since the registrant was
last inspected (Um'ted States v. Osborne, 512 F. Supp. 413 (E.D. Tenn. 1980) and Um`ted
States v. Greenberg, 334 F. Supp. 364 (W.D. Pa. 1971)); (3) the registrant has recently
received an inordinately large supply of controlled substances (Marter ofSearches and
Seizures Conducted on October 2 and 3, 1980, supra); or (4) the registrant has engaged in
other suspicious activity (Um`ted States v. Greenberg, supra).

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8. Your affiant has examined the files and records of the Drug Enforcement
Admirn'stration and has determined that Dr. Van Bommel has never been inspected by the
DEA. In addition, the investigation to date has revealed certain unusual circumstances
surrounding Dr. Van Bommel’s medical practices. Both these circumstances and the lack
of prior inspection support the issuance of an Administrative Inspection Warrant.

9. F or example, on multiple occasions in 2018, l and other investigators have
driven past this clinic location. lnvestigators observed no office hours posted on the front
door or window or on any signage at the practice known as Relief Treatment Center at
13760 W. Capitol Drive, Brookfield, Wl 53005. Surveillance conducted of this location on
various days of the week and at different times of the day have found the blinds drawn. In
addition, Dr. Van Bornmel‘s vehicle, a black GMC Ynkon which is known to lnvestigators
by its customized Green Bay Packer license plate of“IVB“, is often not present at the back
of the building where it has been observed previously. Recent multiple phone calls placed
to the phone number for this practice, (262)794~3140, have been answered by a message
with a female voice advising to leave a message unless the caller is a doctor, pharmacy
stafl`, or medical professional who should call (262)794-2304. `

10. The United States Postal Inspection Service has advised DEA that the
carrier on the route who delivers mail to this practice reports that when he delivers mail to
this address, usually between 1:00-1:30 p.m., the window blinds are usually drawn closed
and no one appears to be present. The carrier advised that he has rarely seen the practice

open.

l 1. lnvestigators conducted video surveillance conducted at Dr. Van Bomrnel‘s
office from July 31, 2017 and February 2, 2018. That surveillance revealed that on most
weekdays, an average of several individuals entered and exited the clinic. There were
occasions when the office was apparently closed, as the blinds were drawn all day and no
one was observed entering or exiting the front entrance Yet, prescription records show that
controlled substance prescriptions were issued by Dr. Van Bommel on those days.
lnvestigators have learned that in 2017, Dr. Van Bommel worked on Fridays at another
medical practice, the Stevanovic Farnily Practice in Milwaukee, WI, and some of these
prescriptions may have been issued when he was seeing patients at this location.

12. Dr. Van Bommel’s prescribing consists largely of narcotic pain medications
such as oxycodone, methadone, and morphine. I~Ie also previously prescribed Subsys®, a
form of fentanyl approved for breakthrough cancer pain. On September 25, 2015, Dr. Van
Bommel became authorized under the Drug Abuse Treatment Act (“DATA”) to prescribe
controlled substances containing buprenorphine for the purpose of opioid addiction
treatment for up to 30 patients On October 6, 2016, the DATA authorization was increased
to a maximum of 100 patients. It is not DEA’s intention to inspect records related to
prescriptions issued for opioid addiction treatment

13. Oxycodone is a Schedule II controlled substance that may be prescribed to
treat moderate to severe pain. Other members of the class known as opioid agonists in
Schedule II include substances such as morphine, hydromorphone, fentanyl, codeine, and

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hydrocodone Pharmacological effects of opioid agonists include axiolysis, euphoria,
feelings of relaxation, respiratory depression, constipation, myosis, and cough suppression,
as well as analgesia.”

14. Schedule II controlled substances are particularly dangerous. By delinition,
they have “a high potential for abuse” which “may lead to severe psychological or physical
dependence.” 21 U.S.C. § 812(b)(2). Schedule II controlled substances are the most
dangerous drugs that can be prescribed for medical use. See 21 U.S.C. §§ 812(a)(1)(B)
and (C)(defining schedule I controlled substances as having “no currently accepted medical
use in treatment in the United States” and lacking “accepted safety . . . under medical
supervision”) and 21 U.S.C. §§ 812(b)(3)(A), (4)(A) and (5)(A)(defining controlled
substances in schedules III, IV and V as having a lower potential for abuse than schedule
II controlled substances).

15. Because schedule ll controlled substances have a high potential for abuse,
Congress has enacted special statutes and regulations governing prescriptions for these
drugs. For exarnple, except in emergency situations, or when administered directly to a
patient by a “practitioner,“ schedule II controlled substances can be dispensed only with a
“written prescription of a practitioner.” 21 U.S.C. § 829(a). In addition, “[n]o prescription
for a controlled substance in schedule ll may be retilled.” lnstead, an individual practitioner
may issue multiple prescriptions authorizing patients to receive up to a 90-day supply of a
schedule ll controlled substance provided certain conditions are met, one of which is that
the physician concludes “that providing the patient with multiple prescriptions in this
manner does not create an undue risk of diversion or abuse.” 21 C.F.R. § 1306.12(b)(1).
For the distribution of a controlled substance to be authorized by law, it must be prescribed
“for a legitimate medical purpose by an individual practitioner acting in the usual course
of his professional practice.” 21 C.F.R. § 1306.04(a).

16. As part of DEA’s investigation, a former patient advised DEA that she was
a patient of Dr. Van Bommel but she stopped seeing him because she felt he was
overprescribing prescription medications Dr. Van Bommel had been treating her for back
pain, for which she was receiving Social Security Disability due to a prior back injury and
failed surgery. She stated that Dr. Van Bomrnel wanted to put her on Subsys®, a sublingual
fentanyl spray, which scared her because she saw what Subsys® was doing to her husband.
She was worried that her husband was going to overdose on the Subsys® because Dr. Van
Bommel kept increasing his dose despite him being “out in left field” (as in having
abnormal or strange behavior), nodding off all the time, losing his job for being incoherent
and falling asleep at work, and cognitive impairment She was also concerned about the
cost of Subsys®, which was approximately $30,000 per month, and was worried that it
could jeopardize their health insurance.

17. The former patient’s husband advised DEA that he was being treated by Dr.
Van Bommel for back pain and that Dr. Van Bommel suggested he try Subsys®. He felt
that Dr. Van Bomrnel was trying to get more patients on Subsys®. Dr. Van Bornmel even
brought the sales representative into the exam room during one of his office visits to talk
to him about Subsys® (note: Subsys® is made and marketed by Insys Therapeutics, Inc.).

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He stopped going to Dr. Van Bommel at the insistence of his wife. He stated that the
physician he switched to atter Dr. Van Bommel told him he had been taking enough
fentanyl to “drop a horse.” At the time he was a patient of Dr. Van Bommel, he had four
convictions for Operating While intoxicated (“OWI”) and an arrest and pending trial for
another OWI. Dr. Van Bommel was evidently aware of this because the patient stated that
Dr. Van Bommel questioned him about why he never mentioned his OWI arrest and
convictions The patient felt that the OWl’s were not pertinent since they occtured prior to
him becoming Dr. Van Bomrnel’s patient. The patient admitted that his first two OWl’s
were alcohol-related, but all the other OWI’s (in 2009, 201 1, and 2013) were medication-
related.

.. 18. According to the U.S. Food & Drug Administration, Subsys® is indicated
for the management of breakthrough pain in cancer patients (see ht_tps://subys.com, see also
https://www.accessdate.fda.gov/drugsatfda_docs/nda/20l2/202788_subsys_toc.cfrn).
According to the Subsys® website, “because of the risk for misuse, abuse, addiction, and
overdose, Subsys® is available only through a program called the ‘Transmucosal
lmmediate Release Fentanyl ('llR_F) Rr`sk Evaluation Mitigation Strategy (REMS) Access
Program. To receive Subsys®, you must. . . sign the Patient-Prescriber Agreement Form. . .”
The two patients described above advised DEA that they have never had cancer and one of
the patients did not recall signing any forms regarding Susbsys®.

19. Analysis of Dr. Van Bommel’s prescription records from the Wisconsin
Prescription Drug Monitoring Program has revealed that horn August 1 1, 2014 to October
23, 2018, he wrote approximately 14,175 prescriptions for controlled substances to
approximately 455 different patients. The majority of what he prescribed, more than 72%
of his prescriptions were for opioids, including 6,860 for Schedule II opioids such as
methadone, fentanyl, morphine, and oxycodone. ln 2018, Dr. Van Bomrnel wrote more
than 3',120 controlled substance prescriptions despite not appearing to have regular office
hours Between December l, 2014 and December 19, 2016, Dr. Van Bommel wrote 66
prescriptions for Subsys® to ten different patients, primarily in 2015, with the patient
described in paragraph 17 above receiving the most Subsys® prescriptions (13) and three
other patients accounting for 33 of the Subsys® prescriptions Dr. Van Bommel wrote most
of his prescriptions on Mondays and Thursdays, but it appears he also wrote numerous
prescriptions on Saturdays and Sundays.

20. Based on the foregoing circumstances there exists a valid public interest in
the effective enforcement of the Controlled Substance Act and its implementing regulations
sufficient to justify the inspection of Dr. Van Bommel’s controlled premises to verify the
correctness of inventories, records, reports, controlled substances dispensed, controlled
substances inventories and other documents that are required to be kept under the
Controlled Substance Act. Certain records, to wit, inventories, records of disposition,
receipt of controlled substances patient files, appointment schedules, and sign in sheets
may be viewed during the course of this inspection for the purpose of verification.

21, Your affiant states that the inspection will be conducted within regular
business hours; that the lnvestigator’s credentials will be presented to the registrant; that

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the inspection will begin as soon as practicable after the issuance of the warrant and will
be completed with reasonable promptness; and that the warrant will be returned within ten
(10) days to a Magistrate Judge for the United States District Court for the Eastem District
of Wisconsin.

22. ' Your affiant has verified and has personal knowledge of the facts contained
in this affidavit and they are true to the best of her knowledge and belief.

Dated: l,\‘>llcl

 

 

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Diversion lnvestigator
Drug Enforcement Administration

Swom to before me and subscribed in my presence on the |_O day of January, 2019.

    
  

United States Magis » '
United States District
Eastern District of Wi ~ t nsin

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